 Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 1 of 12 PageID: 854



                       IN THE UNITED STATES DISTRICT COURT
                         OF APPEALS FOR THE THIRD CIRCUIT
C. Tate George,
     (Petitioner)
     (Appellant)                          Civil Action No. 17-2641
                                          Crim. Case No.: 3:.12-CR-204-01 (AET)
v.
                                          "NOTICE OF PETITION FOR CERTIFICATION"

United States of America,
     (Respondent)
     (Appellee)


To:   Clerk of Court                                    RECEIVED
      United States Court of Appeals
      21400 United States Courthouse
      601 Market Street                                        MAR 29 2019
      Philadelphia, PA 19106-1790                        AT 8:30_
                                                            W/Llill"'.:":AM~t=-.~WA_L_S_H--M
                                                                     CLERK
      Clerk of Court
      United States District Court
      for the District of New Jersey
      Clarkson S. Fisher Building
      & U.S. Courthouse
      402 East State Street
      Trenton, NJ 08608

To:   Zack Intrader, AUSA, Office of the U.S. Attorney, 970 Broad Street, Rm. 700,
      Newark, N.J. 07102.

TAKE NITTICE that C. Tate George·, pro se, shall petition the Appellate Court
for an Order certifying Petitioner's Motion for Leave to Appeal. Petitioner
(has not in~luded the $500 docketing filing fee) as he seeks to proceed under
"Indigent Status", (See Petitioner's attached filing Mot·
"Indigent Status")

Dated: March   2,L\   2019                                                     se
  Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 2 of 12 PageID: 855


                      IN THE UNITED STATES DISTRICT COURT
                        OF APPEALS FOR 'IHE THIRD CIRCUIT

e.   Tate George
                                     *
       (Petitioner)                          Civil Action No. 17-2641
       (Appellant)

                                     *       Crim Case No.:3:12-CR-204-01 (AET)
v.
                                             NOTICE OF MOTION TO PROCEED
United States of America                     UNDER ''INDIGENT STATUS"
     (Respondent)
     (Appellee)                              IN FORMA PAUPER.IS



     PLEASE TAKE NOTICE that the undersigned hereby Moves before the 'Ihird
Circuit District Court of Appeals for leave to Proceed under indigent status.
In support of this Motion, I shall rely on the attached Appendix and the following
reasons listed below, such as:
     1) Petitioner is currently (still) incarcerated and being housed at Allenwood
Low LSCI (facility) in White Deer, Pennsylvaniia;

     2) Petitioner claims hardship where he earns (.12 cents) a month and
has multiple litigations ongoing and funds deposited by family members to
support Plaintiff efforts to address pending litigations are ear-marked for
legal materials, legal calls, legal mail, legal emails, stamps, envelopes,
some food and alike;

     3) Petitioner understands that there is a $500 docketing filing fee required
when filing a Notice.of Motion to proceed in forma pauperis;

     4) Petitioner understands that there is a case openingAnformation package
that he does not have access to at the time of filing this Motion. However,
Petitioner has proof that he has been granted indigent status in another case
still pending that! pertains to this case at bar. (See Attachment #1 and #2 -
Superior Court of New Jersey Appellate Division and Supreme Court of New Jersey
Granting indigent istatus)(Also, see Attachment #3 - six (6) month certified
statement of Peti~ioner's Institutional Account).

    5) Petitione~ understands that if a Motion for Leave to Proceed in forma
pauperis is not filed, the Petition will be dismissed without further notice.

                                         1
 I      .   Case 3:17-cv-02641-AET Document
                                         .  51 Filed 03/29/19 Page 3 of 12 PageID: 856
~ E D , Clerk of the Appellate Division, April 03, 2018, A-001924-17

                                                       ORDER ON MOTION



                                                                SUPERIOR COURT OF NEW JERSEY
                                                                APPELLATE DIVISION
                                                                DOCKET NO. A-001924-17T2
       C. TATE GEROGE AND THE GEORGE                            MOTION NO. M-005330-17
       GROUP, LLC                                               BEFORE      PART E
       v.                                                       JUDGE ( S): CARMEN MESSANO
       MICHAEL CHUDI EJEKAM


      MOTION FILED:             12/21/2017                     BY:     C. TATE GEORGE
      ANSWER(S)
      FILED:

      SUBMITTED TO COURT: March 29, 2018

                                                              ORDER

          THIS MATTER HAVING BEEN DULY PRESENTED TO THE COURT, IT IS, ON THIS
     2nd day of April, 2018, HEREBY ORDERED AS FOLLOWS:

     MOTION BY         Ji._FPELLANT

     MOTION TO PROCEED AS 1'..N INDIGENT                      GRANTED


     SUPPLEMENTAL:

          The motion for leave to proceed as indigent is granted subject to
     N.J.S.A. 30:4-16.3.    The calculation required by said statute shall be
     made by the Department of Corrections, which shall then,.on notice to the
     appellant of the,, amount of the caiculation, transfer the partial filing
     fee as calculated ~rom the appellant s institutional atcount to the Clerk
                                                                  1



     of the Superior Court.    The fulfillment of this condition shall not stay
     the processing, perfection or determination of this appeal.

                                                              FOR THE COURT:




                                                              CARMEN MESSANO, P.J.A.D.

     L-008330~15        - STATEWIDE,
     ORDER - REGULAR MOTION
     JAG
Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 4 of 12 PageID: 857




                                           SUPREME COURT OF NEW JERSEY
                                              M-714 September Term 2018
                                                       082494


C. Tate George and The
George Group, LLC,
                                           f I LED
   Plaintiffs~Movants,                     FEB 22 2019

       V.
                                       ~ct~                   ORDER



Michael Chudi Ejekam,

   Defendant.




      It is ORDERED that the motion for leave to file a notice of petition for

certification as within time is granted.



      WITNESS, the Honorable Stuart Rabner, Chief Justice, at Trenton, this

20th day of February, 2019.




                                            CLERK OF THE SUPREME COURT
   Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 5 of 12 PageID: 858
                                                                          Page 1 of 3



                                                  Inmate Inquiry
   Jnmate Reg#:               63223050                                        Current Institution:        Allenwxid FCC
  lnmatl' N.amc:              GEORGE, C l!\TE                                 Housing VnH:                ALF-BB
   Report Date:               03/12/20 !9                                     Living Quarters:            B08-5, IU
  Report Time:
    General lnfom1ation        I       Account Balances              Commissary Historv               Commissa1. Restrictions        Comments
  General Information

    Administrative Hold Indicator:       No
              No Power of Attorney:      No
              Never Waive NSF Fee:       No
      Max Allowed Deduction%:            100
                               PIN:      6826
                             PAC#:       610389411 ·
                  Revalidation Date:     10th
         FRP Participation Status:       Participating
                      Arrived From:      BRO
                    Transferred To:
          Account Creation Date:         1/28/2016
   Local Account Activation Date:        2/15/2018 3:34:46 AM



                        Sort Codes:
               Last Account Update:
                                         D
                                         3/11/2019 11:13:34 AM
                    Account Status:      Active
                    Phone Balance:       $20.13




        Pre-Release Plan Information

        Target Pre-Release Account Balance:          $0.00
                      Pre-Release Deduction%:        0%
          Income Categories to Deduct From:            :;j Payroll       •1{_• Outside Source Funds




   FRP Plan Information

  FRP Plan Type               Expected Amount              Expected Rate
  Quarterly                   $25.00                       0%

 Account Balances

                                          Account Balance:      $30.33
                                       Pre-Release Balance:     $0.00
                                        Debt Encumbrance:       $0.00
                                        SPO Encumbrance:        $0.00
                                       Other Encumbrances:      $0.00

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https://10.33.26.106/truweb/InmatelnquiryCombined.aspx                                                                                  3/12/2019
 Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 6 of 12 PageID: 859


     Next, Petitioner also bases his collateral attack on the ineff_ective
assistance of counsel of Trial Counsel David Schafer also during both pre-
trial and at trial. Such claims were made and based on the two-pronged test
promulgated by the Supreme Court in its 1984 decision in (Strickland v. Washington),
466 U.S. 688; showing that the Sixth Amendment was violated when defendant
(1) showed that "counsel's performance was deficient," requiring that counsel's
representation fell below an objective standard of reasonableness", (2) that
the deficient performance prejudiced the defendant such that there is a reasonable
probability that the outcome would have been different (Strickland) at 466
U.S. 678, 694.

                        II.   BRIEF HISTORY OF 1HE CASE
     On July 24, 2017, the Court Ordered and Reassigned Petitioner's case
(Case Number 3:17-CV-02641-AET) from Judge Mary L. Cooper to Judge Anne E.
Thompson, due to affirmed illegal procedural violations by Judge Cooper. As
of the date of this Motion to the Court, Petitioner's case had been delayed
at least four (4) times for reasons that go against the Rule of Law, under
Rule 1: Scope and Purpose wh~re it states:
          The Rules govern the procedure in all civil actions
          proceedings in the United States.District Court; except
          as stated in Rule 81. '!hey should be constructed, administered
          and employed by the Court and the parties to "secure
          the just, speedy and inexpensive detennination of every
          action and proceeding. (History:)(As amended April 29,
          2015, eff Dec. 1, 2015).
     This Motion has merit because of the incredible and unbelievable reasons
given by the Government to the District Court, dating back to the following:
On August 28, 2017 - Court set a scheduling date for 60 days for the Government
to respond. The Government missed the deadline by almost 30 days, and the
Court issued an Order to Show Cause, for ~rhy the Government missed the Court
Ordered deadline.
     On November 27, 2017, the Court vacates the Show Cause Order and re-Orders
a January 21, 2018 Response deadline for the Government and that deadline
date was missed once again by the Government, giving no legitimate reasons
why this date was missed
     On March 8, 2018 the court issued yet another Order allowing until April
30, 2018 and so further Ordered "that no further extensions of time will be
perwi t ted. ''
     This order was not adhered to because on April 30, 2018, the Court signed

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  Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 7 of 12 PageID: 860


request to set aside or correct conviction and senteceo As well as; recent
Supreme Court precedent case under (Rosales-Mireles Vo U.S.), 138 S.Ct. 1897
(2018) where the Court stated that [a] plain guideline error that affects
a defendant's substantial rights is precisely the type of error that ordinarily
warrants.;:-=: relief under Rule 52(b)( ••• ) because it usually establishes a reasonable
probability that a defendant will serve a prison sentence that is·more than
necessary to fulfill the purposes of incarceration. (In addit:Lcim; a recent
ruling in support of Petitioner's request for liberty in the Third Circuit
Remanded ·Case based on relevant conduct error as well as criminal history
category error in (Harrisv. U.S.), , No. 17-3341. (Harris, Roasales-Mireles,
and Molina-:-Martinez), all are cases that are directly relevant to Government's
relevant conduct false claims pertaining·to loss calculation and supposed
victim loss and hardship claims at sentencing for Petitioner yet; by way of
(concession) by the Government in ·-its Response Brief to not address one of
Petitioner's initial collateral attacks. This oversight was not unintentional
on behalf of the Government in its Response Brief, and by law under (Urbina
v. Thoms J that the Government waived any claims to relevant conduct or hardship
haven't been correct at sentencing. (Urbinav. Thoms), 270 F .3d 292, (2001
CA6 KY).
       Lastly, as now conceded to by the Government:'s (Answer Brief) total disregard·
to address Petitione.r's correct monies owed of $529,000 (and not the over
$2.5 million dollars the Court previously applied); Petitioner's level is
(23) even if you leave a two (2) point enhancement for the outlandish idea
of obstruction of Justice because, Petitioner failed to apologize for a crime
that never happened; the most time the Court could levy is 57 months on the
high end. Petitioner wants to bring to the Court's attention that as of September
30, 2018; Petitioner would be locked up illegally.for 64 months and counting ..• which
is a crime in itself.
      The Court not addressing this issue alone is causing further hardship
needlessly when not addressing Petitioner's Section 2255 Habeas Corpus in
a timely manner. (Urbina v. Thorns), 270 F. 3d 292 ·(2001, CA6 KY).
      Wherefore, "J:the Petitioner, G. Tate George, pro se, respectfully requests
this Honorable Court to compel the district court to adjudicate the merits
of his pending Section 2255 motion within seven (7) days of this Court's Order

Footnote (1) Atkin's letter alone reduces Petitioner's Sentencing Guidelines
by two (2) levels alone.
                                       7
 Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 8 of 12 PageID: 861


gran~ing the writ of mandamus~ and fbr stich oth~r and further relief deemed
proper and necessary in the Interest of Justice.    1




Dated:   March   '&~ , 2019


                                            · · •Tate George, pro
                                             Fed. NO. 63223-050
                                             LSCI'Allenwood
                                             PO Box 1000
                                             White Deer, PA 17887

                                    AFFIDAVIT
     I HEREBY CERTIFY that the foregoing facts are true and correct to the




                              CERTIFICATE OF SERVICE
     I HEREBY CERTIFY.that a copy of the following Motion /Petition for Supervisory
Writ of mandamus filing was mailed on this :1,L\.       day of ·   \0-D-- ~
2019, by first class mail, postage prepaid to : Zack Intrader, AUSA Office
of the Attorney (U.S.), 970 Broad Street, Rm.




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Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 9 of 12 PageID: 862




  Honorable Mary L. Cooper
  United States District Judge
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street Room 7W
  Trenton, NJ 08608

  May 25, 2017

  Re:USA v. C. TATE GEORGE.3:12-cr-204 (1\,1LC)

     Dear Judge Cooper:

  In support of Mr.. C. Tate George's 2255 application to the Federal District Court and Honorable
  Mary L. Cooper, please allmv this letter to serve· as \\,ritten representation and proof that I was
  never contacted pre-trial, during trial, or post-trial in the above-mentioned case by defense
  attorney David Schafer, who represented Iv1r. George in this matter.

  It has come to my attention that I ,vas ·wrongly admitted as a loss victim at Mr. George's
  sentencing. Please allow this certified letter to serve as notice and proof to the court that IV1r.
  George, ·nor The George Group, does not personally or othenvise owe me any monetary amount,
  specifically $364,000. Any and all investments ·w·ere at risk in\'estments, as I an1 a partner Vi-'ith
  11r. George in sev,eral companies and ongoing real estate projects. I am aware of each real estate
  project and all civil litigations pending that have yet to be resolved.

  May the court accept this sworn statement of mine as further acknowledgment that 1v1r. George
  and I are still working together and are mgood sta~ding as business paiiners. Lastly, I have not
  been defrauded of any of n1y investments.

  I am prepared to testify to these facts in court to clear up this misunderstanding andior
  misrepresentation to the court presented by the prosecutors at sentef1c.ing regarding my
  investment/involvement with 11r. George and our partnership.

  If you need to contact me regarding this statement, you can do so on my cell phone at (407) 259-
  8982 or my email at atkins.chucky407(a~gmail.com.                 ·

  Respectfully Yours,




  Kenneth Chucky Atkins




  STATE OF     ti ori J.a.. '. COUNTY OF Omnjz..                 'ss.:

  On this day, personally appeared before me

   J<e()P'i~fh ~uo1~J Af k,'ns JR-
  to me known to be the person(s) described in and who executed the within and foregoing
  instrument, and acknowledged that he/she signed the same as his/her voluntary act and dee~ for
Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 10 of 12 PageID: 863




  Honorable Mary L. Cooper
  United States District Judge
  ClarksonS. Fisher Building& U.S. Courthouse
  402 East State Street Room 7W
  Trenton, NJ 08608

  May 25, 2017

  Re:USA v. C. TATE GEORGEJ:12-cr-204 (MLC)

    Dear Judge Cooper:

  In support of Mr. C. Tate George's 2255 application to the Federal District Court and Honorable
  Mary L. Cooper, please allmv this letter to serve· as \vTitten representation and proof that I was
  never contacted pre-trial, durmg trial, or post-trial in the above-mentioned case by defense
                                                                                                        \
  attorney David Schafer, who represented J\:1r. George in this matter.

  It has come to my attention that I ,vas wTongly admitted as a loss victim at Mr. George's
  sentencing. Please allmv this certified letter to serve as notice and proof to the court that Iv1r.
  George, ·nor The George Group, does not personally or otherwise uwe me any monetary amount,
  specifically $364,000. Any and all investments ,\•ere at risk in\'estments, as I am a partner with
  11r. George in SfV,eral c'ompanies and ongoing real estate projects. I am aware of each real estate
  project and all civil litigations pending that have yet to be resolved.

  May the court acceT;>t this svvorn statement of mine as further acknO\vledgment that Mr. George
  and I are still working together and are in good sta1~ding as business partners. Lastly, I have not
  been defraudc?d of any of my investments.

  I am prepared to testify to these facts in court to clear up this misunderstanding andior
  misrepresentation to the court presented by the prosecutors at sentencing regarding my
  investment/involvement ,vith Mr. George and our partnership.

  If you need to contact me regarding this statement, you can do so on my cell phone at (407) 259-
  8982 or my email at atkins.chucky407@gmail.com.                      ·

  Respectfully Yours,




  Kenneth Chucky Atkins




  STATE OF    1-1 on l~°' ,c;oUNTY OF OYUr.jz.. , ss.:
  On this day, personally app~ared before me

   J<eAne.,fh       ~a.uo1J·   ,i   A-tk,'ns JR-
  to me known to be the person(s) described in and who executed the within and foregoing
  instrument, and aclmowledged that he/she signed the same as his/her voluntary act and deed, for
           Case 3:17-cv-02641-AET
     THIRD CIRCUIT                 Document
                   REMANDS CASE BASED       51 Filed
                                      ON RELEVANT    03/29/19
                                                  CONDUCT     Page
                                                          ERROR     11 ofAS12
                                                                AS WELL       PageID:HISTORY
                                                                            CRIMINAL   864
     CATEGORY ERROR

     United States vs. Harris, No. 17-3341

    Harris pied guilty to conspiracy to distribute heroin and possession of a firearm. The PSI came back claiming that he was
    responsible for "distributing 97.32 grams of heroin and 17.5 grams of cocaine base, producing a base offense level of 24." The
 __ court also found that Harris' criminal history placed him in criminal history category I. Harris objected to the 17.5 grams of
    cocaine base for purposes of relevant tonductat sentencing, but not the cnrTili'fa1iiist6ry-cateyorn,_----~---'"'--------

    The-.PS1- further ·said that a person "purchased 0.-5-grams -of-heroin-from Harris .on~-00.occasions and._'.obser:.v.ed Hac~is :with.Jrn
    eight-ball (3.5 grams) of cocaine base on five or six occasions .. "' The officer who testified said that the witnesses saw Mr. Harris
    with other controlled substances (such as cocaine) qut he was not selling them.

    The court found that the offense level was appropriate at 24 and the offense history was appropriate at V and sentenced Harris
    at 175 months.

    In the Third Circuit, "While the Guidelines permit inclusion of additional [drug] transactions in determining [a defendant's]
    offense level, they require som·e meaningful relationshipramong them before discrete transactions ·in different drugs may be
    attributed to the 'same course of conduct' or a 'common scheme or plan.' United States v. Montoya, 952 F.2d 226, 229 (8th Cir. .
    1991)                                                                                                                                .

    With regard to the cocaine, the Third Circuit noted that Harris pleaded guilty to a conspiracy to distribute controlled substances,
    not possess. There was no direct evidence of Harris distributing cocaine base and that the amount that was observed was
    potentially ,is consistent ·with personal use-·as ·it was with· the intent to distribute. The Third ·Circuit held that the District Court
    "clearly erred in finding that Detective Butt's credible testimony that Ms. True reported observing Harris with a small quantity of
    cocaine base on a few occasions was sufficient to prove by a preponderance of the evidence a 'meaningful relationship'
    between those occasions and Harris's many heroin distribution transactions that were properly aggregated in determining the
-'-b'ase"offense 1c vel"fo-rtfrs·'coitSpir-acy-uffensc·.-'' --       · - ··- - -···-·- - -- -·· ·· -- --· -- -·---· --- -      ·       - - ---- -··-.
             .               .                       .                 .       ,.



   The court then took up the punishment issue. Harris was assigned 1O criminal history points for five of his prior convictions. .
   "One point was assigned for a dr~g offense Harris committed i11 Illinois in 2007, when he was 17 -5- years old. Harris contends
   on appeal that it was error to assign one point under U.S.S .. G. 4A1 .1 (c) for a juvenile sentence that was imposed more than
   five years before the commencement of the instant offense" This was subject to plain error because he did not object to this in
   the district court. The government alleged that Harris was "unable to prove the error affected his substantial rights."

·J···-·The-' GO.Uri co~~idered M~li~a-Marti~ei V. Unit~d States, 136 S. Ct. 13°"3H:-f34312dT6), wnere the-c-ourtreco·gnizedih'at~'fwJhen--
      a defend.ant is ser:1tenced under an incorrect Guidelines range - whether or not the defendant's ultimate sentence falls within
      the correct range -- the error itself can, and most often will, be sufficient to show a reasonable probability of a different outcome
      absent the error."

   Further, in Rosales-Mireles v. United States, 138 S. Ct. 1897 (2018), the Supreme Court stated that '[a] plain Guidelines error
   that' affects a defendant's substantial rights is precisely the type of error that ordinarily warrants relief under Rule 52(b )[ ...]
   because it 'usually establishes a reasonable probability that a defendant will serve a prison sentence that is more than
   'necessary' to fulfill the purposes of incarceration."'

  The government argued that there was "no reasonable probability that Harris would have received a lo:wer sentence had h\
  criminal history been properly calculated because the district court sentence? Harris to th~ top_ of the ~ig~er r~nge, cov:~f;eing
  that Harris's criminal history category substantially underrepresented the seriousness of h1_s pnor convi_ctio_ns. Howe '.. d
                                                                                                                              1
  court did not state that it would have, in the alternative, imposed the sar:ie sentence even if a ~o~er guideline rangeea~p~~~t~   .
  The Third Circuit stated that they "read Molina-Martinez and Rosales,.Mireles as strongly cautioning _courts_of app             t
                                               · ·              h t th d. t · t   rt · ht h     done had 1t considered the correc
  make such assumptions when 'the record 1s silent as tow a e 1s nc cou mtg                 ave                        .   · h Id b
  Guidelines range."' Molina-Martinez, 136 S. Ct. at 1347. The court determined that the criminal history category issues ou        e
  addressed on ~emand as well.

  The Third Circuit Vacated the sentence and Remanded the case back to the District Court. No. 17-3341




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                                                                                                                       .4//-;tdi111dA! f II ;}
      '..J.,--~--.




Case 3:17-cv-02641-AET Document 51 Filed 03/29/19 Page 12 of 12 PageID: 865




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